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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ADAM SORKIN,                                   )
                                               )
               Plaintiff,                      )              Case No. 21 C 3546
                                               )
               v.                              )
                                               )              Judge Jorge L. Alonso
TARGET CORPORATION,                            )
                                               )
               Defendant.                      )


                                              ORDER

        Defendant’s motion [30] for judgment on the pleadings, which the Court takes as a
motion to dismiss under Rule 12(b)(1), is granted in part and denied in part. The Court dismisses
without prejudice for lack of jurisdiction plaintiff’s claims as to the twelve products listed in ¶ 12
of the Complaint [1], i.e., Up & Up Oil Free Facial Moisturizer, Up & Up Dual Effects
Moisturizer, Up & Up Acne Wash Pink Grapefruit, Up & Up Moisturizing Lotion with SPF, Up
& Up Morning Burst Facial Cleanser, Up & Up Deep Clean Cream Cleanser, Up & Up Deep
Cleaning Acne Treatment, Up & Up Charcoal Deep Pore Cleanser, Up & Up Skin Refreshing
Apricot Scrub, Up & Up Deep Clean Exfoliating Scrub, Up & Up Eye Makeup Remover, and Up
& Up All In One Micellar Cleansing Water. The only claims that remain pending are plaintiff’s
claims with respect to the Up & Up Oil-Free Facial Moisturizer for Sensitive Skin.

                                          STATEMENT

       Feeling defrauded by a product label, plaintiff Adam Sorkin (“Sorkin”) filed against

defendant Target Corporation a complaint alleging claims for common-law fraud, unjust

enrichment and breach of warranties, as well as claims under various states’ consumer fraud

statutes. Specifically, plaintiff alleges that, in March 2020, he spent approximately $6.99 at a

Target store in Chicago to purchase a bottle of Up & Up Oil-Free Facial Moisturizer. Plaintiff

alleges that the product he purchased contained oil, despite the label, which described the

product as being oil free. He alleges he paid a premium price for a product that was inferior.
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Had he known the product contained oil, plaintiff either would not have purchased the product,

or he would have paid less for it.

       Plaintiff does not limit his complaint to claims based on the product he purchased.

Plaintiff also alleges that twelve other products contained oil despite being labeled as oil free.

(Complt. ¶ 12). Those products are: Up & Up Oil Free Facial Moisturizer, Up & Up Dual

Effects Moisturizer, Up & Up Acne Wash Pink Grapefruit, Up & Up Moisturizing Lotion with

SPF, Up & Up Morning Burst Facial Cleanser, Up & Up Deep Clean Cream Cleanser, Up &

Up Deep Cleaning Acne Treatment, Up & Up Charcoal Deep Pore Cleanser, Up & Up Skin

Refreshing Apricot Scrub, Up & Up Deep Clean Exfoliating Scrub, Up & Up Eye Makeup

Remover, and Up & Up All In One Micellar Cleansing Water. Plaintiff has not alleged that he

purchased any of the twelve products listed in ¶ 12 of his complaint.

       Defendant has filed a Rule 12(c) motion for judgment on the pleadings, arguing that

plaintiff lacks standing to bring some of his claims. A motion to dismiss for lack of jurisdiction,

however, is a motion for relief under Rule 12(b)(1). Fed.R.Civ.P. 12(b)(1). Accordingly, this

Court takes defendant’s motion as a motion under Rule 12(b)(1). A challenge to the Court’s

jurisdiction may be brought at any time. See Arbaugh v. Y&H Corp., 546 U.S. 500, 507 (2006).

       A.      Standing with respect to products plaintiff did not purchase

       First, defendant argues that plaintiff lacks standing to pursue claims with respect to

products he has not alleged he purchased. The Court agrees.

       Standing is not about the merits of a case; it is a question of whether a particular plaintiff

is a suitable one to fight the battle. Flast v. Cohen, 392 U.S. 83, 99-100 (1968) (“[W]hen

standing is placed in issue in the case, the question is whether the person whose standing is




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challenged is a proper party to request adjudication of a particular issue and not whether the issue

itself is justiciable.”).

        Standing requires a personal stake in the litigation. As the Supreme Court explained

nearly fifty years ago:

        As an aspect of justiciability, the standing question is whether the plaintiff has
        ‘alleged such a personal stake in the outcome of the controversy’ as to warrant his
        invocation of federal-court jurisdiction and to justify exercise of the court’s
        remedial powers on his behalf. Baker v. Carr, 369 U.S. 186, 204, 82 S.Ct. 691,
        703, 7 L.Ed.2d 663 (1962). The Art. III judicial power exists only to redress or
        otherwise to protect against injury to the complaining party, even though the
        court’s judgment may benefit others collaterally.

Warth v. Seldin, 422 U.S. 490, 498-99 (1975) (emphasis added). Among the reasons for

requiring a personal stake is the practical notion that one with a personal stake will best litigate

the issue. The Supreme Court has explained:

        This personal stake is what the Court has consistently held enables a complainant
        authoritatively to present to a court a complete perspective upon the adverse
        consequences flowing from the specific set of facts undergirding his grievance.
        Such authoritative presentations are an integral part of the judicial process, for a
        court must rely on the parties’ treatment of the facts and claims before it to
        develop its rules of law. Only concrete injury presents the factual context within
        which a court, aided by parties who argue within the context, is capable of making
        decisions.

Schlesinger v. Reservists Committee to Stop the War, 418 U.S. 208, 221 (1974); see also Flast,

392 U.S. at 99 (“The ‘gist of the question of standing’ is whether the party seeking relief has

‘alleged such a personal stake in the outcome of the controversy as to assure that concrete

adverseness which sharpens the presentation of issues upon which the courts so largely depend

for illumination of difficult . . . questions.’”) (emphasis added) (quoting Baker v. Carr, 369 U.S.

at 204).

        Thus, “the irreducible constitutional minimum of standing contains three elements.”

Lujan v. Defenders of Wildlife, 504 U.S. 555, 559-60 (1992). A plaintiff must have “(1) suffered


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an injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant, and (3)

that is likely to be redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S.

330, 338 (2016). To show injury in fact, “a plaintiff must show that he or she suffered ‘an

invasion of a legally protected interest’ that is ‘concrete and particularized’ and ‘actual or

imminent, not conjectural or hypothetical.’” Spokeo, 578 U.S. at 339 (quoting Lujan, 504 U.S. at

560). A plaintiff must establish standing “with the manner and degree of evidence required at

the successive stages of the litigation.” Lujan, 504 U.S. at 561. Here, at the pleadings stage,

allegations will suffice.

        In this case, plaintiff alleges he purchased Up & Up Oil-Free Facial Moisturizer for

Sensitive Skin for roughly $6.99 in March 2020. He alleges he was defrauded, because the

product’s label plainly states the product is oil free when, according to plaintiff, the product

contains oil. Plaintiff alleges that, had he known the product contained oil, he would have either

paid less for it or not purchased it at all. He has, thus, alleged an injury in fact in the form of

overpayment (in an amount that falls somewhere between $.01 and $6.99) for the product he

purchased. The injury is concrete, and it is particular to plaintiff. He has standing to pursue his

claims based on the product that he purchased.

        Plaintiff has not, however, alleged that he purchased any of the other twelve products that

he alleges were falsely labeled as being oil free. Defendant rightly points out that plaintiff lacks

standing to pursue claims based on products he did not purchase. Plaintiff simply has no

personal stake in the outcome of such claims. The problem is that plaintiff has not alleged he

suffered any injury with respect to those other products. Plaintiff has not alleged he ever paid for

those products, so he has not alleged (and cannot allege) that he was injured by overpaying for




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those products. Plaintiff could not have been lured in by a false label on a product he never

purchased.

       Plaintiff argues that he has standing to pursue claims based on the twelve products he did

not purchase, because those products are similar to the product he actually purchased. 1 That is
                                                                                          0F




not, however, the test for standing that the Supreme Court has applied for decades. Standing

requires injury in fact to the plaintiff. Here, plaintiff does not identify any injury he suffered

from the labels on those other products. Perhaps he was stressed, annoyed or otherwise bothered

that someone else might have purchased those products, but none of those feelings constitutes a

concrete injury for purposes of Article III standing. Wadsworth v. Kross, Leiberman & Stone,

Inc., 12 F.4th 665, 668 (7th Cir. 2021). The only injury alleged in the complaint is overpayment,

but plaintiff does not allege he suffered that injury with respect to the twelve products he did not

purchase. That someone else might have been injured by overpayment for those other products

does not matter. See Frank v. Gaos, 139 S.Ct. 1041, 1046 (2019) (“[F]ederal courts lack

jurisdiction if no named plaintiff has standing.”); Sierra Club v. Morton, 405 U.S. 727, 734-35

(1972) (“[T]he injury in fact test requires more than an injury to a cognizable interest. It requires

that the party seeking review be himself among the injured.”); Warth, 422 U.S. at 502

(“Petitioners must allege and show that they personally have been injured, not that injury has

been suffered by other, unidentified members of the class to which they belong and which they


1
 The plaintiff did not pull this argument out of thin air. The Court is aware of a few district
court decisions (including one of its own) in which judges have allowed plaintiffs to pursue
claims with respect to products that were similar to products those plaintiffs had purchased. See
Ulrich v. Probalance, Inc., Case No. 16 C 10488, 2017 WL 3581183 at *6 (N.D. Ill. Aug. 18,
2017). In Ulrich, unlike this case, the complaint could have been read to mean plaintiff had
purchased each of the four products at issue. Here, plaintiff alleges he purchased only one of the
products. Plaintiff has not alleged an injury with respect to the other products. Put simply, this
Court lacks jurisdiction to consider claims that the named plaintiff has no standing to pursue.
Frank v. Gaos, 139 S.Ct. 1041, 1046 (2019) (“[F]ederal courts lack jurisdiction if no named
plaintiff has standing.”).

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purport to represent. Unless these petitioners can thus demonstrate the requisite case or

controversy between themselves personally and respondents, ‘none may seek relief on behalf of

himself or any other member of the class.’”) (citations omitted). Plaintiff has not alleged he

suffered any injury with respect to those other products. He lacks standing to pursue claims

based on those products. 21F




       Nor could the plaintiff establish standing by purchasing those products now. A plaintiff

must establish “standing at the time the suit is filed and cannot manufacture standing

afterwards.” Pollack v. United States Dep’t of Justice, 577 F.3d 736, 742 n. 2 (7th Cir. 2009)

(explaining that plaintiff’s visits to an area after the suit was commenced did not confer

standing); see also Friends of the Earth, Inc. v. Laidlaw Environmental Services, Inc., 528 U.S.

167, 189 (2000) (“The requisite personal interest must exist at the commencement of the

litigation (standing) and must continue throughout its existence (mootness)”) (citations omitted);

Perry v. Village of Arlington Heights, 186 F.3d 826, 830 (7th Cir. 1999) (“[Plaintiff] did not rent

this apartment or obtain title to the automobile until after he filed his complaint in this case.

Because standing goes to the jurisdiction of a federal court to hear a particular case, it must exist

at the commencement of the suit.”).

       Plaintiff’s claims with respect to the twelve products he did not purchase are dismissed

for lack of standing. Dismissals for lack of jurisdiction are dismissals without prejudice. Prairie




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  To the extent plaintiff thinks the existence of Rule 23 somehow expands Article III standing,
the Court disagrees. See Amchem Products, Inc. v. Windsor, 521 U.S. 591, 613 (1997) (“Rule
23’s requirements must be interpreted in keeping with Article III constraints[.]”); Fed.R.Civ.P.
82 (“These rules do not extend or limit the jurisdiction of the district courts or the venue of
actions in those courts.”); see also TransUnion LLC v. Ramirez, 141 S.Ct. 2190, 2208 (2021)
(“Article III does not give federal courts the power to order relief to any uninjured plaintiff, class
action or not. . . . [P]laintiffs must demonstrate standing for each claim that they press and for
each form of relief that they seek[.]”)

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Rivers Network v. Dynegy Midwest Generation, LLC, 2 F.4th 1002, 1013 (7th Cir. 2021).

Accordingly, the claims are dismissed without prejudice.

       B.      Standing with respect to other states’ statutes

       In his complaint, plaintiff asserts that defendant’s conduct violated the consumer-fraud

statutes of ten states, including Illinois, the only state in which plaintiff purchased the

moisturizer. Plaintiff notes that he seeks to represent a class of persons who purchased the

product in the states of California, Florida, Massachusetts, Michigan, Minnesota, Missouri, New

Jersey, New York and Washington.

       Defendant argues that plaintiff lacks standing to pursue claims under the statutes of the

states other than Illinois, because plaintiff has not alleged that he purchased the product in those

other states. The Court disagrees. Defendant conflates a potential failure to state a claim with a

lack of standing. The issue defendant raises does not affect Article III standing.

       Defendant’s point is that some consumer-fraud statutes do not apply to transactions that

occur outside of their respective states. The Illinois Consumer Fraud and Deceptive Trade

Practices Act, for example, does not apply “to fraudulent transactions which take place outside

Illinois.” Avery v. State Farm Auto. Ins. Co., 216 Ill.2d 100, 185 (Ill. 2005). Thus, in Avery, the

Illinois Supreme Court held that “the out-of-state plaintiffs . . . have no cognizable cause of

action under the Consumer Fraud Act.” Avery, 216 Ill.2d at 188. The upshot is that a plaintiff

cannot state a claim under the ICFA based on an out-of-state transaction.

       That issue, however, is not one of standing. Article III standing requires an injury in fact,

and plaintiff has one (with respect to Up & Up Oil-Free Facial Moisturizer for Sensitive Skin) in

the form of overpayment for the product he purchased. As the Supreme Court has explained,

Article III standing is a question different from the statutory question of whether a “legislatively



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conferred cause of action encompasses a particular plaintiff’s claim.” Lexmark Int’l, Inc. v.

Static Control Components, Inc., 572 U.S. 118, 125-127 (2014). In other words, “[j]urisdiction .

. . is not defeated . . . by the possibility that the averments might fail to state a cause of action on

which petitioners could actually recover.” Bell v. Hood, 327 U.S. 678, 682 (1946).

        Therefore, the Court denies defendant’s request that the Court dismiss for lack of

standing plaintiff’s claims under the other states’ consumer-fraud statutes. 3 2F




SO ORDERED.                                                     ENTERED: June 2, 2022




                                                                ______________________
                                                                JORGE L. ALONSO
                                                                United States District Judge




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  Plaintiff might do well to consider whether these claims are worth pursuing. As noted above,
the ICFA does not apply “to fraudulent transactions which take place outside Illinois.” Avery,
216 Ill.2d at 185. Thus, a plaintiff who purchased a product outside of Illinois, having no claim
under the ICFA himself, would not be an adequate representative of a class of persons who
purchased the product in Illinois. To the extent the other states’ consumer-fraud laws are
similarly restricted to transactions within those states, plaintiff is unlikely to be an adequate
representative of a class of persons who purchased the product in those respective states. Nor is
he likely to become an adequate representative by purchasing the product in those other states,
because then defendant would likely pursue a defense unique to plaintiff, i.e., that he, unlike
other class members, already knew the product contained oil when he purchased it. Furthermore,
this Court is unlikely to grant a fee petition with respect to class counsel’s time spent on claims
that fail for such reasons.

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